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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------- X

 GRETHEL MCDONALD,
                                                     SECOND AMENDED
                                       Plaintiff,    COMPLAINT

                     -against-
                                                     JURY TRIAL DEMANDED
 THE CITY OF NEW YORK; and NYPD P.O. FELIX
 MAK, SHIELD NO 19522; NYPD P.O. RYAN                20CV04614(MKB)(JRC)
 HARKINS, SHIELD NO 10194; NYPD P.O.
 BRIANA SURKO, SHIELD NO 9240; and LT.
 GRIGORIY BARDASH; the individual
 defendant(s) sued individually and in
 their official capacities,

                                      Defendants.

 ----------------------------------------- X

                           PRELIMINARY STATEMENT

             1.    This is a civil rights, common law, and tort

 action in which plaintiff seeks relief for the violation of her

 rights secured by the laws of the State of New York; New York

 State Constitution; 42 U.S.C. §§ 1983 and 1988; and the Fourth,

 Sixth, and Fourteenth Amendments to the United States

 Constitution.     Plaintiff’s claims arise from an incident that

 took place on September 30, 2017.        During the incident, the City

 of New York, and members of the New York City Police Department

 (“NYPD”) subjected plaintiff to, among other things, unlawful

 search and seizure, excessive force, false arrest, failure to

 intervene, and implementation and continuation of an unlawful

 municipal policy, practice, and custom.         Plaintiff seeks
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 compensatory and punitive damages from the individual

 defendants, compensatory damages from the municipal defendant,

 declaratory relief, an award of costs and attorney’s fees, and

 such other and further relief as the Court deems just and

 proper.

                            JURISDICTION & VENUE

             2.    Jurisdiction is conferred upon this Court by the

 aforesaid statutes and 28 U.S.C. §§ 1331 and 1343.

             3.    Venue is proper here pursuant to 28 U.S.C. § 1391

 because some of the acts in question occurred in Richmond

 County, and Richmond County is subject to personal jurisdiction

 in the Eastern District of New York.

                                   PARTIES

             4.    Plaintiff GRETHEL MCDONALD is an African American

 female, who is a resident of the State of New York, Richmond

 County.

             5.    At all times alleged herein, defendant City of

 New York was a municipal corporation organized under the laws of

 the State of New York, which violated plaintiff’s rights as

 described herein.

             6.    At all times alleged herein, defendants NYPD P.O.

 FELIX MAK, SHIELD NO 19522; NYPD P.O. RYAN HARKINS, SHIELD NO

 10194; NYPD P.O. BRIANA SURKO, SHIELD NO 9240; and LT. GRIGORIY

 BARDASH were New York City Police Officers employed with the



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 120th Precinct, located in Richmond County, New York or other as

 yet unknown NYPD assignment, who violated plaintiff’s rights as

 described herein.

             7.    The individual defendants are sued in their

 individual and official capacities.

                             STATEMENT OF FACTS

             8.    On September 30, 2017 at and in the vicinity of

 Campbell Street, West Brighton, Richmond County, Staten Island,

 New York, and the 120th Precinct, Staten Island, New York,

 several police officers operating from the 120th Precinct,

 including, upon information and belief, NYPD P.O. FELIX MAK,

 SHIELD NO 19522; NYPD P.O. RYAN HARKINS, SHIELD NO 10194; NYPD

 P.O. BRIANA SURKO, SHIELD NO 9240; and LT. GRIGORIY BARDASH, at

 times acting in concert, and at times acting independently,

 committed the following illegal acts against plaintiff.

             9.    On September 30, 2017, at approximately 1:00

 a.m., at and in the vicinity of 173 Campbell Street, Richmond

 County, Staten Island New York, NYPD P.O. FELIX MAK, SHIELD NO

 19522; NYPD P.O. RYAN HARKINS, SHIELD NO 10194; NYPD P.O. BRIANA

 SURKO, SHIELD NO 9240; and LT. GRIGORIY BARDASH, without either

 consent, an arrest warrant, a lawful search warrant, probable

 cause, or reasonable suspicion that plaintiff had committed a

 crime, committed excessive force upon and unlawfully arrested

 plaintiff.



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             10.   Plaintiff was at 173 Campbell Street, her bag was

 on the porch.

             11.   Plaintiff saw either NYPD P.O. FELIX MAK or his

 partner NYPD P.O. RYAN HARKINS unlawfully seize her bag and hold

 it.

             12.   Plaintiff asked for her bag.

             13.   Either NYPD P.O. RYAN HARKINS or NYPD P.O. FELIX

 MAK, told plaintiff she could not have her bag, and that she had

 to go to the precinct.

             14.   Plaintiff asked for her bag back, and told NYPD

 NYPD P.O. RYAN HARKINS and NYPD P.O. FELIX MAK, that they had no

 lawful right to take plaintiff’s bag because it was on private

 property.

             15.   NYPD P.O. RYAN HARKINS or NYPD P.O. FELIX MAK

 then asked plaintiff for her identification card.

             16.   Plaintiff told NYPD P.O. RYAN HARKINS or NYPD

 P.O. FELIX MAK, that her identification card was in her purse.

             17.   NYPD P.O. RYAN HARKINS, searched plaintiff’s bag,

 and told NYPD P.O. FELIX MAK, to write plaintiff a ticket.

             18.   NYPD P.O. RYAN HARKINS, and/or NYPD P.O. FELIX

 MAK then grabbed plaintiff.

             19.   NYPD P.O. RYAN HARKINS, and/or NYPD P.O. FELIX

 MAK slammed plaintiff to the ground.




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             20.   NYPD P.O. RYAN HARKINS or NYPD P.O. FELIX MAK

 placed his knee on plaintiff’s face.

             21.   NYPD P.O. RYAN HARKINS or NYPD P.O. FELIX MAK

 called claimant a bitch.

             22.   NYPD P.O. RYAN HARKINS, NYPD BRIANA SURKO, and

 NYPD P.O. FELIX MAK, assisted in this unlawful arrest.

             23.   NYPD P.O. FELIX MAK placed excessively tight

 handcuffs on plaintiff.

             24.   LT. GRIGORIY BARDASH, was present and supervised

 and approved this unlawful arrest.

             25.   Those officers who did not touch plaintiff failed

 to protect her from these unlawful acts.

             26.   NYPD P.O. RYAN HARKINS, NYPD BRIANA SURKO, and

 NYPD P.O. FELIX MAK then placed plaintiff in a police car.

             27.   NYPD P.O. RYAN HARKINS, and NYPD P.O. FELIX MAK

 took plaintiff to the 120th precinct.

             28.   Plaintiff was placed in a cell while her arrest

 was processed.

             29.   During this time, in order to cover up their

 illegal actions, NYPD P.O. FELIX MAK, pursuant to a conspiracy,

 falsely and maliciously told the Richmond County District

 Attorney’s Office that plaintiff had committed various crimes.

             30.   Because there was no basis to arrest or prosecute

 plaintiff, the case against her terminated in her favor, when



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 all charges against her were dismissed on or about December 21,

 2018.

             31.   After her arrest, and prior to the case being

 dismissed, plaintiff was forced to appear in court numerous

 times which constitute a constitutional deprivation of her

 liberty.

             32.   The individual defendants acted in concert

 committing the above-described illegal acts toward plaintiff.

             33.   Plaintiff did not violate any law, regulation, or

 administrative code; commit any criminal act; or act in a

 suspicious or unlawful manner prior to or during the above

 incidents.

             34.   At no time prior to, during or after the above

 incidents were the individual defendants provided with

 information, or in receipt of a credible or an objectively

 reasonable complaint from a third person, that plaintiff had

 violated any law, regulation, or administrative code; committed

 any criminal act; or acted in a suspicious or unlawful manner

 prior to or during the above incidents.

             35.   The defendants acted under pretense and color of

 state law and within the scope of their employment.            Said acts

 by said defendants were beyond the scope of their jurisdiction,

 without authority or law, and in abuse of their powers, and said




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 defendants acted willfully, knowingly, and with the specific

 intent to deprive plaintiff of their rights.

             36.   As a direct and proximate result of defendants’

 actions, plaintiff experienced personal and physical injuries,

 pain and suffering, fear, an invasion of privacy, psychological

 pain, emotional distress, mental anguish, embarrassment,

 humiliation, and financial loss.

             37.   Plaintiff is entitled to receive punitive damages

 from the individual defendants because the individual

 defendants’ actions were motivated by extreme recklessness and

 indifference to plaintiff’s rights.

             38.   Upon information and belief, the unlawful actions

 against plaintiff were also based on profiling.

                                 FIRST CLAIM

                     (FALSE ARREST UNDER FEDERAL LAW)

             39.   Plaintiff repeats and realleges all the foregoing

 paragraphs as if the same were fully set forth at length herein.

             40.   Defendants falsely arrested plaintiff without

 consent, an arrest warrant, a lawful search warrant, probable

 cause, or reasonable suspicion that plaintiff had committed a

 crime.

             41.   Accordingly, defendants are liable to plaintiff

 for false arrest under 42 U.S.C. § 1983; and the Fourth and

 Fifth Amendments to the United States Constitution.



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                                SECOND CLAIM

            (UNLAWFUL SEARCH AND SEIZURE UNDER FEDERAL LAW)

             42.   Plaintiff repeats and realleges all the foregoing

 paragraphs as if the same were fully set forth at length herein.

             43.   Defendants unlawfully stopped and searched

 plaintiff without cause, a warrant, or consent.

             44.   Accordingly, defendants are liable to plaintiff

 for unlawful search and seizure under 42 U.S.C. § 1983; and the

 Fourth and Fifth Amendments to the United States Constitution.

                                 THIRD CLAIM

                      (EXCESSIVE UNREASONABLE FORCE)

             45.   Plaintiff repeats and realleges all the foregoing

 paragraphs as if the same were fully set forth at length herein.

             46.   The individual defendants’ use of force upon

 plaintiff was objectively unreasonable.

             47.   The individual defendant officers did not have an

 objective and/or reasonable basis to use any degree of force

 against plaintiff, since plaintiff was unarmed, compliant, and

 did not resist arrest.

             48.   Those defendants who did not touch plaintiff,

 witnessed these acts, but failed to intervene and protect

 plaintiff from this conduct.

             49.   Accordingly, the defendants are liable to

 plaintiff for using unreasonable and excessive force, pursuant



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 to 42 U.S.C. § 1983; and the Fourth Amendment to the United

 States Constitution.

                                 FOURTH CLAIM

                   (MALICIOUS PROSECUTION UNDER FEDERAL LAW)

             50.    Plaintiff repeats and realleges all the foregoing

 paragraphs as if the same were fully set forth at length herein.

             51.    The individual defendants are liable to plaintiff

 for malicious prosecution because prior to any grand action,

 with intent, knowledge, and malice, the defendants initiated a

 malicious prosecution against plaintiff by drafting and signing

 a sworn criminal court complaint and police reports that

 provided false information to the court, alleging plaintiff had

 committed various crimes.

             52.    The individual defendants lacked probable cause

 to believe the above-stated malicious prosecution could succeed.

             53.    The individual defendants initiated the above-

 stated malicious prosecution to cover up their illegal and

 unconstitutional conduct.

             54.    The above-stated malicious prosecution caused a

 sufficient post-arraignment liberty restraint on plaintiff.

             55.    Accordingly, Defendants are liable to Plaintiff

 for unlawful search and seizure under 42 U.S.C. § 1983 and the

 United States Constitution.




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                                  FIFTH CLAIM

                           (FAILURE TO INTERVENE)

              56.   Plaintiff repeats and realleges all the foregoing

  paragraphs as if the same were fully set forth at length herein.

              57.   Defendants had a reasonable opportunity to

  prevent the violations of plaintiff’s constitutional rights, but

  they failed to intervene.

              58.   Accordingly, the defendants are liable to

  plaintiff for failing to intervene to prevent the violation of

  plaintiff’s constitutional rights.

                                  SIXTH CLAIM

                                (MONELL CLAIM)

              59.   Plaintiff repeats and realleges all the foregoing

  paragraphs as if the same were fully set forth at length herein.

              60.   Plaintiff repeats and realleges each and every

  allegation set forth above as if set forth herein.

              61.   Defendants, individually and collectively, were

  acting under color of state law, as officers of the NYPD, when

  they carried out the acts complained of herein.

              62.   Defendant City of New York engages in a policy-

  in-practice, custom, usage, or practice, of subjecting citizens

  to excessive force.

              63.   The NYPD’s practice and custom of officers

  unlawfully using excessive force is so persistent, widespread,



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  and pervasive as to constitute a custom or usage and imply the

  constructive knowledge or acquiescence of the City and its

  policymakers. The numerous instances of abuse, several of which

  are described in city agency reports, civilian lawsuits and

  complaints, and news articles, demonstrate that the City has

  been, or should have been, aware of the constitutional

  violations committed by the NYPD. The constitutional violations,

  predicated upon the Fourth and Fourteenth Amendment, are so

  numerous, persistent, and pervasive that the need for corrective

  action is obvious. The City’s failure to take any such action,

  through training, enhanced supervision, diligent investigation,

  or meaningful punishment—in particular, disciplinary action that

  would deter future misconduct—constitutes deliberate

  indifference to the violations.

              64.   This deliberate indifference to the NYPD’s

  widespread violations of constitutional rights can be considered

  a policy, practice, or custom of the City.

              65.   Additionally, the City knew, or should have

  known, of Defendants’ Mak and Harkins propensity to engage in

  the type of misconduct alleged by Plaintiff. Despite the City’s

  knowledge of their past misconduct and violence, the City and

  the NYPD failed to take any action to discipline Defendants Mak

  and Harkins or correct their behavior.




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              66.   This is indicative of the City’s policy, custom,

  usage, practice, and/or rule of displaying a willful

  indifference to the proper training, supervision, discipline,

  and retention of its employees.

              67.   The City’s failure to train, supervise,

  investigate, and discipline NYPD officers amounts to deliberate

  indifference to the constitutional violations committed by the

  NYPD against individuals including Ms. McDonald. Defendant

  City’s improper and inadequate policies, customs, usages,

  practices, rules and/or regulations were the direct and

  proximate cause of violations of Plaintiff’s civil rights.

              68.   As a result of the violation of his civil rights,

  Plaintiff suffered significant physical and emotional pain,

  humiliation, and trauma.

              69.   Plaintiff seeks compensatory damages, punitive

  damages, and permanent injunctive relief from the City of New

  York.

              WHEREFORE, plaintiff demands a jury trial and the

  following relief jointly and severally against the defendants:

              a.    Compensatory damages in an amount to be

                    determined by a jury;

              b.    Punitive damages in an amount to be determined by

                    a jury;




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              c.   Costs, interest and attorney’s fees, pursuant to

                   42 U.S.C. § 1988; and

              d.   Such other and further relief as this Court may

                   deem just and proper, including injunctive and

                   declaratory relief.

  DATED:      New York, New York
              JUNE 24, 2022


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